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                                                                                             E-FILED
                                                                   Friday, 26 June, 2020 10:42:18 AM
                                                                        Clerk, U.S. District Court, ILCD


                             UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS


AARON O’NEAL #N53022,                       )
                                            )
       Plaintiffs,                          )
vs.                                         )
                                            )
JOHN BALDWIN, DIRECTOR,                     )
ILLINOIS DEPARTMENT OF                      )
CORRECTIONS, in his official and            )
individual capacity; MANUEL ROJAS, in       )
his official and individual capacity;       )
STEPHANIE DORETHY, in her official          ) Case No.:   18-CV-4063-SEM-TSH
and individual capacity; FREDDIE            )
BRITTON, in his official and individual     )
capacity; ROBERT RODRIGUEZ, in his          )
official and individual capacity; JOE       )
LAHOOD, in his official and individual      )
capacity JOHN FROST, in his official and    )
individual capacity; STEVE GANS, in his     )
official and individual capacity, MELISSA   )
PHOENIX, in her official and individual     )
capacity,                                   )
                                            )
               Defendants.                  )

        DEFENDANTS ROBERT RODRIGUEZ AND JOSEPH LAHOOD’S
  REPLY TO PLAINTIFF’S RESPONSE TO MOTION FOR SUMMARY JUDGMENT

       NOW COME the Defendants, JOSEPH LAHOOD and ROBERT RODRIGUEZ, by their

attorneys, HEYL, ROYSTER, VOELKER & ALLEN, P.C., and for their Reply to Plaintiff’s

Response to Motion for Summary Judgment pursuant to Federal Rule 56 and Local Rule 7.1(D)

state as follows:

                     A.     REPLY TO ADDITIONAL MATERIAL FACTS

       Plaintiff did not assert any Additional Material Facts within his Response and thus

defendants make no Reply.


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                                        B.     ARGUMENT

     I.          REPLY       TO     PLAINTIFF’S         ARGUMENT          CONCERNING           THE

RELIGIOUS LAND USE AND INSTITUTIONALIZED PERSONS ACT

          Plaintiff misinterprets the holding in Lugar v. Edmondson Oil Co., 457 U.S. 922, 937

(1982). Plaintiff must do more than make unsupported allegations that a defendant “set in motion

the wheels” of a discrimination claim. Plaintiff must, and fails to, provide evidence that a

defendant is acting under color of state law and had personal involvement in the alleged

discriminatory conduct. Lugar, 457 U.S. at 937 and Smith v. Rowe 761 F.2d 360, 369 (7th Cir.

1985). Unlike the defendant in Smith, who was the Director of IDOC and therefore a state actor,

it is undisputed that the Defendants are not employees of any governmental entity. Plaintiff has

presented no evidence that the Defendants have acted under any color of state law. Plaintiff has

presented no evidence that the defendants participated in the decision-making process regarding

Plaintiff’s request for a religious meal or in the grievance process. In fact, all evidence shows

that the Defendants did not participate in either process. Plaintiff’s new unsupported claims that

the defendants possessed authority during times which Chaplain Rojas was not present has no

basis. Plaintiff’s new unsupported claims that prison employees unlocking religious material

somehow evidences authority is also misplaced. Further, Plaintiff also newly claims, without

support, that any assistance in investigation somehow makes a private citizen a state actor.

Apparently any citizen who cooperates with an investigation by a governmental employee is now

a state actor. This begs the question of whether Plaintiff himself is a state actor due to any

previous cooperation with prison officials.

          Further, all admissible evidence shows that the Defendants had no authority at the facility

and had no authority to order any actions. Plaintiff has admitted his knowledge of this lack of


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authority. See Undisputed Material Facts Nos. 1, 3, 4, 5, 6, 8, 9, 10, and 11. Defendants have

submitted Declarations, which Plaintiff has not disputed and appears to have adopted in his

Response, which establish that the Defendants are not state actors, did not participate in any

decision-making or grievance process, and have no authority. See Exhibits 2 & 3 generally.

Plaintiff cannot establish any state action, nor can he establish any personal involvement.

       Plaintiff has submitted a number of affidavits from fellow inmates, all essentially

identical. Each assert that the affiants submitted, and were denied, religious meal requests in

April, 2017. The affidavits then assert hearsay evidence of Defendant Robert Rodriguez

informing the inmates in January, 2018, well after Plaintiff’s claim of discriminatory conduct

regarding religious meals, that Lent would not be observed in Henry Hill. No affidavit contains

competent, admissible evidence, or evidence at all, of any action by the Defendants, any personal

involvement by the Defendants, or any discriminatory conduct by the Defendants.

     II.       DEFENDANT’S PERSONAL DISAGREEMENT WITH CATHOLIC

DOCTRINE DOES NOT CONSTITUTE STATE ACTION

       Religious theory and ecclesiastical functions are protected from government intrusion and

there is no joint effort between prison officials and clergy regarding spiritual questions. Florer v.

Congregation Pidyon Shevuyim, N.A., 639 F.3d 916, 927 (9th Cir. 2011). Clergy engaging in

inherently ecclesiastical     functions   and spiritual     duties,   including interpretation      and

implementation of church doctrine, are not state actors. Montano v. Hedgepeth, 120 F.3d 844,

851 (8th Cir. 1997). Plaintiff’s attempt to characterize his personal disagreement with the

spiritual tenets of the catholic faith as a form of state action is incorrect. Plaintiff admits that the

Defendants were not the government and cites his personal disagreement with a spiritual tenet as

proof of some form of state action. (d/e #115 p. 4). Plaintiff incorrectly applies Koger v. Bryan,


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523 F.3d 789 (7th Cir. 2008), a case where prison administration, indisputably state actors,

imposed a clergy verification for a prisoner to obtain a religious diet. No such test is alleged in

the matter at hand and there is no evidence that the Defendants had any authority or power to

impose such a test. Plaintiff has provided no evidence, and has admitted to Defendant’s

Undisputed Material Facts. Plaintiff disputes only Fact #5, ostensibly of the Undisputed Material

Facts concerning Plaintiff, which cites Plaintiff’s admission that he knew Defendant Rodriguez

had nothing to do with Plaintiff’s religious diet request form. Plaintiff’s further exploration of his

disagreement with Catholic tenets is irrelevant to this matter and does not bring any facts or

evidence supporting Plaintiff’s claim of state action by the Defendants.

                                            D. CONCLUSION

       Plaintiff admits to the Defendant’s Undisputed Material Facts and fails to present any

material facts or admissible evidence of any state action or personal involvement by the

Defendants, JOSEPH LAHOOD and ROBERT RODRIGUEZ. The Defendants are volunteer

clergy, performing spiritual, ecclesiastical functions, without any authority within Henry Hill.

The Defendants are not state actors and did not participate in any decision-making or grievance

process. Defendants did not violate the Plaintiff’s rights in any fashion and summary judgment in

Defendant’s favor, against the Plaintiff, should be granted.

       WHEREFORE, the Defendants, JOSEPH LAHOOD and ROBERT RODRIGUEZ,

respectfully requests that this Court grant Defendant’s Motion for Summary Judgment in favor

of the Defendants, JOSEPH LAHOOD and ROBERT RODRIGUEZ against the Plaintiff,

AARON O’NEAL.

                                                JOSEPH LAHOOD and ROBERT RODRIGUEZ




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                                                        By: /s/ Robert R. Tenney
                                                   Heyl, Royster, Voelker & Allen, P.C.
                                                   Robert R. Tenney, ARDC #6316025




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                                   PROOF OF SERVICE

       I hereby certify that on June 26, 2020, I electronically filed the foregoing instrument,
Reply to Plaintiff’s Response to Motion for Summary Judgment, with the Clerk of the Court
using the CM/ECF system and I hereby certify that I have mailed on June 26, 2020, by United
States Postal Service the foregoing instrument, Reply to Plaintiff’s Response to Motion for
Summary Judgment, to the following non-CM/ECF participant:

Aaron O’Neal, N53022
HILL CORRECTIONAL CENTER
Inmate Mail/Parcels
PO Box 1700
Galesburg, IL 61401
                                                           /s/ Robert R. Tenney
                                                             Robert R. Tenney




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